Case 1:21-cr-00386-TNM Document 33 Filed 06/30/21 Page 1 of 2

COLOR OF LAW AGENCY So Named:
DISTRICT OF COLUMBIA CIRCUIT

D-U-N-S® number for
District of Columbia Circuit:
D-U-N-S number: XXXXXX277
Doing Business As
Federal Court

Leave to file GRANTED

 

TREVOR N. MCFADDEN

UNITED STATES United States District Jud
d.ba. Jal
USA 6 We

A De facto Private Shareholder owned Bankrupt
Foreign for profit governmental services Corporation
Listed as UNITED STATES on Dunn and Bradstreet
Correction: Our Government is a Republic Properly

styled “The United States for America”
Vs.
Case No.

CUSIP # 21-Cr-386-2

PAULINE BAUER - VESSEL
NOW COMES Pauline Bauer

compos mentis
By Special Divine Appearance Pauline Bauer,

One of we the people, Petitioner, Attorney in-Fact
Sui Juris, Jus Soli, a living soul, created by God, a
self-governed individual, the woman being
involuntarily held as surety, an ambassador of Christ,
taking dominion over Juris[diction] of the Land and
Water.

Land, Air, Water - this is LAW

 

NOTICE: Correct the Record
No Plea of guilty before the court

Be it known by all parties, known or unknown, disclosed or undisclosed,
THE FACT:

Notice:

USC 18 § 2076: CLERK IS TO FILE: “Whoever, being a clerk willfully refuses or neglects to make or forward any report,
certificate, statement, or document as required by law, shall be fined under this title or imprisoned not more than one
year, or both".

USC 18 §2071: Whoever willfully and unlawfully conceals, removes, mutilafes, obliterates, or destroys, or attempts to do
so, documents filed or deposited with any clerk or officer of any court, shall be fined or imprisoned not more than three
years, or both.

No Plea of Guilty.pdf Page 1 of 2
 

Case 1:21-cr-00386-TNM Document 33 Filed 06/30/21 Page 2 of 2

|, Me, Pauline Bauer the Living Soul, A Creation of God, A Woman, As ONE People
hereby Demand the Court to correct the record to reflect that |, Me, Pauline Bauer
a Living Soul Proclaimed my "innocents" as being blameless and did not nor do not

consent to the word, Guilty and all attachments of meaning known and unknown
by the Court.

.

Docket entry (Docket # missing from the record) dated 06/22/2021 and

entered 06/23/2021 “Minute Entry for proceedings held before Magistrate Judge

Zia M Faruqui: Initial Appearance/Arraignment as to PAULINE BAUER (2)" and continues
to read in ERROR as "Plea of NOT guilty entered as to all counts" and remains in error.

| demand the Court Correct the Record to reflect: "Innocent as the in common usage of
being Blameless.” as this is my, :Pauline: Bauer's Right.

Syllogism in Presumption of “Guilt” to the dead legal fictional "PERSON"
is rebutted and refutare.

My Christian name, properly styled is By: Pauline: Bauer.
CITATION: Public Law 97-280

"The Living Soul, A creation of God, A Woman."

I, Me, Pauline Bauer the Living Soul, declare under the LAW of the United States of
America that foregoing document and statements herein are true and correct to the

best of my knowledge and ability to express.

 

Executed on this ast of \ Und 2021.

    
 

 

Pauline: Bauer a Living Soul
UCC 1 - 308
The Living Embodiment of God's Creation
Red Ink autograph and thumb print (seal)

Notice:

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year, or both".

USC 18 §2071: Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or destroys, or attempts to do

50, documents filed or deposited with any clerk or officer of any court, shall be fined or imprisoned not more than three
years, or both.

No Plea of Guilty.pdf Page 2 of 2
